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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                        CASE NO: 16-20199
                                                        HON. VICTORIA A. ROBERTS
v.

DEANDRE ELLIOTT,


                       Defendant.
                                                           /

     ORDER DENYING DEFENDANT’S MOTION IN LIMINE RE: INTRODUCTION FRE
     404(b) EVIDENCE DURING THE GOVERNMENT’S CASE-IN-CHIEF [ECF NO. 25]

I.      Introduction

        Deandre Elliott is charged in a fifteen count indictment with filing false claims,

theft of government funds and aggravated identify theft. Specifically, Elliott is charged

with filing false tax returns for “LC” for tax years 2013 (Counts 1-3) and 2014 (Counts 4-

6); “PB” for tax year 2013 (Counts 7-9) and for “AP” for tax years 2013 (Counts 10-12)

and 2014 (Counts 13-15). These individuals are all residents of Roanoke, Virginia and

are identified by initials to protect identities.

        Elliott filed a Motion in Limine to prevent the Government from introducing

evidence at trial of “other acts” related to the filing of fraudulent tax returns.

        The Government says it intends to call ten individuals as witnesses who have not

been charged in the indictment, but who are also allegedly victims of the fraudulent tax

return scheme. Nine of these individuals are also from the Roanoke, Virginia area. The


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Government says Elliott stole their identities and filed false federal income tax returns in

their names in order to obtain refunds.

       Elliott’s Motion is DENIED.

II.    Legal Standard

       Rule 404(b) prohibits the use of evidence of other crimes, wrongs, or acts “. . . to

prove a person’s character in order to show that on a particular occasion the person

acted in accordance with the character.” Fed.R.Evid. 404(b). Such evidence may be

admissible for other reasons, such as to show motive, opportunity, intent, preparation,

plan, knowledge, identity, absence of mistake, or lack of accident. Fed.R.Evid.

404(b)(2).

III.   Discussion

        The Government says the testimony of these individuals is intrinsic to the

charges and falls outside the scope of 404(b). Alternatively, the Government says this

evidence may be admitted to show Elliott’s knowledge, plan, scheme and absence of

mistake. The Court agrees.

       “. . .Rule 404(b) does not apply when the other acts evidence is intrinsic or part of

a continuing pattern of illegal activity or where it is ‘inextricably intertwined’ with

evidence of the crime charged in the indictment.” United States v. Daulton, 266 F.

App'x 381, 384 (6th Cir. 2008)(unpublished) (citing United States v. Barnes, 49 F.3d

1144, 1149 (6th Cir.1995)). Evidence is considered “inextricably intertwined” when the

charged and uncharged conduct “are part of the a single criminal episode or the other

acts were necessary preliminaries to the crime charged.” Barnes, 49 F.3d at 1149


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(Citing United States v. Williams, 900 F.2d 823, 825 (5th Cir.1990)).

       The Government contends that the scope of Elliott’s fraudulent scheme was

large. It says 302 of the 787 federal tax returns Elliott filed in the names of others for

tax years 2012 and 2013 contain false information. The Government also identified 42

suspicious returns for tax year 2014. A portion of each refund was directed into a bank

account controlled by Elliott, with the rest of the money going to debit card accounts that

the Government says was created to receive the funds. In 2015, a postal carrier

noticed that numerous items of mail going to Elliott’s house appeared to contain debit

cards that were not in his name. The postal carrier returned the cards to senders and

alerted her superiors because she was trained that this is an indication of fraud.

       Elliott says these individuals constitute inadmissible propensity evidence and

should be banned because it will confuse the jury and result in unfair prejudice. In

support, Elliott relies on State Farm Mut. Auto. Ins. Co. v. Accident Victims Home

Health Care Servs., Inc., 467 F. App'x 368 (6th Cir. 2012). In that case, the other acts

evidence consisted of evidence that the defendant company’s president fraudulently

altered daily reports. Id.

       State Farm is distinguishable because the district court found that it was

character evidence and also because the other acts took place during an unrelated prior

civil case. Here, the other acts evidence took place during the same time period as the

charged offenses and appear to be part of the same scheme.

       The Sixth Circuit recently examined a similar situation in Daulton. In Daulton, the

defendant was convicted for preparing fraudulent tax returns. The other act evidence

included statements of clients regarding the preparation of returns for years not included

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in the indictment, statements by the defendant in various media forms, and statements

by former employees of the defendant’s tax service who testified about procedures.

Daulton, 266 Fed.Appx. at 384. The district court held the other act evidence was part

of a continuing criminal episode and not within the scope of 404(b). Id. The Sixth Circuit

agreed and said even if the district court erred by admitting the evidence because it fell

outside the scope of 404(b), the evidence would be admissible for purposes other than

to show behavior in conformity, such as to show the defendant’s method, preparation

and plan. Id. at 385.

         This evidence is unlikely to cause unfair prejudice. Evidence is deemed unfairly

prejudicial if it “inflames the passions of the jury” and “causes them to ignore the

evidence.” Id. (Citing United States v. Whittington, 455 F.3d 736, 739-40 (6th Cir.

2006).

         The Court finds evidence of other allegedly fraudulent tax returns is unlikely to

inflame the jury or cause them to ignore evidence. It provides context for Elliott’s

operation and shows that Elliott’s actions may have been part of a course of criminal

activity.

         Additionally, the Court agrees this evidence may come in under 404(b)(2) to

show plan, knowledge, intent and absence of mistake. In support, the Government

relies on the three part test established by the Sixth Circuit:

         First, the district court must decide whether there is sufficient evidence that the
         other act in question actually occurred. Second, if so, the district court must
         decide whether the evidence of the other act is probative of a material issue
         other than character. Third, if the evidence is probative of a material issue other
         than character, the district court must decide whether the probative value of the
         evidence is substantially outweighed by its potential prejudicial effect.


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United States v. Clay, 667 F.3d 689, 693 (6th Cir. 2012).

       This test is met. The Government says the other acts will be proven by

testimony of individuals whose identity was stolen, as well as evidence that their returns

were in Turbotax files on Elliott’s computer. The Government also says the acts are not

offered to prove a character trait but are probative of material issues in the case:

whether Elliott filed the returns as part of an intentional plan and not by mistake.

IV.    Conclusion

       Elliott’s Motion is DENIED.


                                                 S/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: June 14, 2016

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 June 14, 2016.

 S/Carol A. Pinegar
 Deputy Clerk




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